      Case 1:21-cr-00201-DLF Document 29 Filed 03/23/21 Page 1 of 3




            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA


                                    )
United States                       )
                                    )
                v.                  )              NO. 21cr201
                                    )
Zachary Martin                      )
                                    )
                                    )
       Defendant.                   )

                     LIMITED APPEARANCE OF COUNSEL

     The Court will please note the limited appearance of undersigned counsel on behalf

of defendant Zachary Martin for purposes of a pro hac vice motion.



                                                   Respectfully Submitted,

                                                   By:

                                                   /s/ Charles Burnham
                                                   Charles Burnham VSB # 72781
                                                   Attorney for the Accused
                                                   Burnham & Gorokhov, PLLC
                                                   1424 K St. NW, Suite 500
                                                   Washington, DC 20005
                                                   (202) 386-6920 (phone)
                                                   (202) 765-2173
                                                   charles@burnhamgorokhov.com
Case 1:21-cr-00201-DLF Document 29 Filed 03/23/21 Page 2 of 3




                     CERTIFICATE OF SERVICE

 I have served this filing on the government through the ecf system.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham VSB # 72781
                                              Attorney for the Accused
                                              Burnham & Gorokhov, PLLC
                                              1424 K St. NW, Suite 500
                                              Washington, DC 20005
                                              (202) 386-6920 (phone)
                                              (202) 765-2173 (fax)
                                              charles@burnhamgorokhov.com
Case 1:21-cr-00201-DLF Document 29 Filed 03/23/21 Page 3 of 3
